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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


  STMICROELECTRONICS, INC.


  v.
                                                         CASE NO. 1:22-MC-00006-JMS-MG
  PURDUE RESEARCH FOUNDATION




                                             ORDER

        Before the Court is ST's Unopposed Motion to Withdraw its Motion to Compel. Having

 considered the motion, the Court is of the opinion that the motion should be, and hereby is,

 GRANTED [11].

        It is therefore ORDERED that ST's Motion to Compel [ECF No. 1] is withdrawn and

 this action is hereby dismissed without prejudice, with each party to bear their own expenses,

 costs, and fees. All pending motions are denied as moot.


        IT IS SO ORDERED:




        Date: 2/8/2022




Distribution via ECF.
